                 Case 2:15-cr-00209-JAM Document 70 Filed 10/26/15 Page 1 of 4


 1   MICHAEL D. LONG (CA State Bar #149475)
     901 H Street, Suite 301
 2
     Sacramento, CA 95814
 3   (916) 201-4188
     Mike.Long.Law@msn.com
 4
     Attorney for DAVID BENNETT
 5

 6                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,                ) No. 15cr209 JAM
 8
                     Plaintiff,                   )
 9                                                ) STIPULATION AND
            v.                                    ) ORDER TO STATUS CONFERENCE
10                                                )
     JOSEPH LATU, et al,                          ) Date: 1-12-2016
11
                                                  ) Time: 9:15 a.m.
12
                     Defendant.                   ) Judge: Hon. John A. Mendez
     ================================)
13
            It is hereby stipulated between the parties, Christiian Highsmith, Assistant United States
14

15
     Attorney, Michael D. Long, attorney for defendant DAVID BENNETT, Clyde Blackmon, attorney

16   for defendant JOSEPH LATU, Kyle Knapp, attorney for defendant ALGERNON TAMASOA, Jeff
17   Staniels, attorney for defendant JOHN ORTIZ, Chris Cosca, attorney for defendant KEITH
18
     WHITE, Olaf Hedberg, attorney for defendant CHARLES TUCKER, Shari Rusk, attorney for
19
     defendant Ionel Pascan, and Steve Plesser, attorney for defendant DANIEL BENNETT that the
20
     status conference set for November 10, 2015, at 9:15 a.m. should be vacated and re-set for January
21

22   12, 2016, at 9:15 a.m.

23          The parties further agree, pursuant to Fed.R.Crim.Pro.5.1(c) and (d), that this court should
24
     make a finding of good cause for the requested extension and that in fact good cause is hereby
25
     shown. The Government is about to provide the defense with 41 DVDs containing many hours of
26
     audios and videos of recorded conversations, recorded meetings, photographs and documents.
27

28




                                                   -1-
               Case 2:15-cr-00209-JAM Document 70 Filed 10/26/15 Page 2 of 4


 1   Defense counsel will need to review the discovery, meet with clients and develop defenses. All
 2
     defense counsel will need to meet and confer with each other about defenses.
 3
            Each party further stipulates that the ends of justice served by granting such continuance
 4
     outweigh the best interests of the public and of all the defendants in a speedy trial. Each party
 5

 6   would like time to be excluded as provided by Local Code T4 from today’s date through January

 7   12, 2016, for the effective preparation of all counsel, taking in to account due diligence. 18 U.S.C.
 8
     section 3161(b)(7)(B)(iv).
 9
            All parties request the date of January 12, 2016, for the status hearing. The request for
10
     extending the date for the status conference is at the specific request of the defendants and with the
11

12
     knowing, intelligent and voluntary waiver of their speedy trial rights under the law. Good cause is

13   hereby shown.
14   Dated: October 26, 2015                               Respectfully submitted,
15
                                                           /s/ Michael D. Long__________
16                                                         MICHAEL D. LONG
                                                           Attorney for David Bennett
17

18   Dated: October 26, 2015                               Respectfully submitted,

19                                                         /s/ Clyde Blackmon__________
                                                           CLYDE BLACKMON
20
                                                           Attorney for Joseph Latu
21
     Dated: October 26, 2015                               Respectfully submitted,
22
                                                           /s/ Kyle Knapp__________
23
                                                           KYLE KNAPP
24                                                         Attorney for Algernon Tamasoa
25   Dated: October 26, 2015                               Respectfully submitted,
26
                                                           /s/ Jeff Staniels__________
27                                                         JEFF STANIELS
                                                           Attorney for John Ortiz
28




                                                     -2-
              Case 2:15-cr-00209-JAM Document 70 Filed 10/26/15 Page 3 of 4


 1   Dated: October 26, 2015                    Respectfully submitted,
 2
                                                /s/ Chris Cosca__________
 3                                              CHRIS COSCA
                                                Attorney for Keith White
 4
     Dated: October 26, 2015                    Respectfully submitted,
 5

 6                                              /s/ Olaf Hedberg__________
                                                OLAF HEDBERG
 7
                                                Attorney for Charles Tucker
 8
     Dated: October 26, 2015                    Respectfully submitted,
 9
                                                /s/ Shari Rusk__________
10
                                                SHARI RUSK
11                                              Attorney for Ionel Pascan

12   Dated: October 26, 2015                    Respectfully submitted,
13
                                                /s/ Steve Plesser__________
14                                              STEVE PLESSER
                                                Attorney for Daniel Bennett
15

16
     Dated: October 26, 2015                    BENJAMIN WAGNER
17                                              United States Attorney

18                                              /s/ Christiian Highsmith______
19                                              CHRISTIIAN HIGHSMITH
                                                Assistant U.S. Attorney
20
     ///
21

22
     ///

23   ///
24   ///
25
     ///
26
     ///
27

28
     ///



                                          -3-
               Case 2:15-cr-00209-JAM Document 70 Filed 10/26/15 Page 4 of 4


 1                                  ORDER
 2
            GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.
 3
            The date for the preliminary hearing in this matter is hereby re-set for January 12, 2016, at
 4
     9:15 a.m., before District Court Judge John A. Mendez. The court finds that the ends of justice
 5   served by granting such continuance outweigh the best interests of the public and of all the
 6   defendants in a speedy trial. Time is excluded as provided by Local Code T4 from today’s date
 7   through January 12, 2016, for the effective preparation of all counsel, taking in to account due

 8   diligence. 18 U.S.C. section 3161(b)(7)(B)(iv).

 9
     Dated: October 26, 2015                        /s/ John A. Mendez_____________
10                                                  JOHN A. MENDEZ
                                                    United States District Court Judge
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                                       -4-
